    Case 23-10399-amc           Doc 74 Filed 04/11/24 Entered 04/12/24 08:25:48                     Desc Order
                                  Confirming Ch. 13 Plan Page 1 of 1
Form 155 (2/24)


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                    )
    Patricia A. Morris                                    )           Case No. 23−10399−mdc
                                                          )
                                                          )
     Debtor(s).                                           )           Chapter: 13
                                                          )
                                                          )


                       ORDER CONFIRMING PLAN UNDER CHAPTER 13
       AND NOW, upon consideration of the plan submitted by the debtor under chapter 13 of title 11 U.S.C. and
the standing trustee's report which has been filed; and it appearing that:

      A. a meeting of creditors upon notice pursuant to 11 U.S.C. 341 (a) and a confirmation hearing upon notice
having been held;

        B. the plan complies with the provisions of 11 U.S.C. 1322 and 1325 and with other applicable provisions of
title 11 U.S.C.;

      C. any fee, charge or amount required under chapter 13 of title 28 or by the plan, to be paid before
confirmation, has been paid;

WHEREFORE, it is ORDERED that the plan is CONFIRMED.


Date: April 11, 2024                                               For The Court

                                                                   Magdeline D. Coleman
                                                                   Chief Judge, United States Bankruptcy Court
